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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWNSVILLE DIVISION

N.M. b/n/f SHERRY MCCARTHY                         §
      Plaintiffs,                                  §
                                                   §
v.                                                 §    Civil Action No. 1:19-cv-00214
                                                   §
MARINE MILITARY ACADEMY,                           §
    Defendant.                                     §

                                FIRST ORIGINAL COMPLAINT

        NOW COMES N.M. by his next friend and mother, Sherry McCarthy (collectively “the

Plaintiffs”) and files this their First Original Complaint alleging that the Marine Military Academy

(hereinafter referred to as the “Academy” or “Defendant”), violated the various rights of Plaintiffs

as more specifically pled herein. Plaintiffs reserve the right to replead if new claims and issues arise

upon further development of the facts, as permitted by law. In support thereof Plaintiffs would

respectfully show this Court the following:

                            I. BRIEF INTRODUCTION TO THE CASE

1.      N.M. was accepted into the Marine Military Academy in August 2016. Upon arrival, he was

        assigned a roommate who hit, kicked, punched, and threatened to rape N.M. daily. After the

        first month of bullying, N.M. got a new roommate, but this roommate was also a bully. The

        staff at the Academy were on notice to this bullying, being informed by Ms. McCarthy and

        N.M. himself. However, instead of remedying the situation, N.M. was retaliated against and

        was forced to leave the Academy.

2.      Because of the events at the Academy, he now has to receive special education services. He

        was catatonic for a time, and he is currently at a high risk for recurrence of catatonia. He also

        suffers from major depressive disorder and anxiety. His various trauma affects his life in

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        many ways.

3.      Due to the various acts and omissions briefly noted above and all more fully delineated

        below, N.M. brings forth a claim against the Marine Military Academy, that his civil rights

        pursuant to Title IX of the Education Amendments of 1972 were violated in two manners.

        First, because the Academy did not stop the harassment and second, by because they did not

        attempt to remedy the effects of the sexual harassment N.M. experienced. Additionally,

        Plaintiffs bring forth common and state law claims.

4.      For families, there is nothing sadder than witnessing their children suffer. To give meaning

        to their child’s experience, they feel compelled to tell their story. They feel a duty to do so

        in the hope the presentation of their story will prevent the same from happening to another

        family. In the course of this telling, these victims benefit from a healing effect. The healing

        and empowering effect is even more pronounced when the story is told before a neutral

        tribunal, as Plaintiffs chose to do in his case, so that the bright light and sanitizing effect of

        federal law is focused on this important issue and the Marine Military Academy’s failures.

                                         II. JURISDICTION

5.      Jurisdiction is conferred upon this Court pursuant to 28 U.S.C.A. §1331 and 1343 because

        the matters in controversy arise under the laws of the United States.

6.      In addition, jurisdiction is conferred upon this Court pursuant to 20 U.S.C. §1681-1688, Title

        IX of the Education Amendments of 1972, et seq., and the federal regulations issued

        thereunder. Last, this Court also has supplemental jurisdiction pursuant to 28 U.S.C. §1369.

                                             III. VENUE

7.       Under 28 U.S.C. §1391, venue is proper before this Court because the events and omissions

        giving rise to the Plaintiff’s claims occurred in the Southern District of Texas, Brownsville

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        Division.

                                          IV. PARTIES

8.      N.M. is a resident of San Antonio, Texas. He lives with his mother, Sherry McCarthy. They

        currently live at 14007 Tahoe Vista, San Antonio, Texas, 78253.

9.      The Marine Military Academy is a private college preparatory academy organized under the

        laws of the State of Texas. At all times pertinent to this case, N.M. was a student at the

        Marine Military Academy. They may be served by and through their Superintendent,

        Colonel R. Glenn Hill at the Texas State Marine Academy at 320 Iwo Jima Boulevard,

        Harlingen, Texas 78550.

                                  V. STATEMENT OF FACTS

A.      ABOUT THE MARINE MILITARY ACADEMY

10.     The Marine Military Academy was created by Captain William A. “Bill” Gary in 1963. His

        vision was to create a place where the ideology of the Marine Corps, including concepts like

        leadership, discipline, and moral values, could be shared with adolescent males.

11.     The Academy is an all-boys, military boarding school located on a military base in

        Harlingen, Texas.

12.     In 1966, six cadets became the Academy’s first graduating class. Since then, the Academy

        has continued to teach young men the key concepts of the Marine Corps.1

13.     The Academy aims to “administer positive guidance and instruction in a safe, structured

        environment removed from distractions that fosters growth of mind, body and spirit and,




        1
            https://www.mma-tx.org/about-us/History-of-MMA/
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        ultimately, inspires transformation”.2

14.     The Academy receives federal funds to pay for military uniforms and the Reserve Officers’

        Training Corps (ROTC) program.

B.      ABOUT N.M.

15.     N.M. was born on August 4, 2001. He is currently 17 years old.

16.     N.M. used to enjoy playing basketball and playing video games.

17.     The Marine Military Academy advertises itself as being an institution with 100% college

        acceptance rate. This appealed to N.M., and he had high expectations and aspirations going

        into the Academy. Unfortunately, the Academy did not live up to those expectations.

C.      N.M.’S FIRST YEAR EXPERIENCE AT THE ACADEMY

18.     In August 2016, N.M. was accepted into the Marine Military Academy. He started attending

        the Academy that same month.

19.     During the first four weeks at the Academy, all new students are considered Plebes. This

        means that they have no access to electronics and no way to privately communicate with

        their parents.

20.     N.M.’s first days at the Academy were positive. He sent his mother a letter stating that he

        was “having a great time at [the Academy]” and that his roommate was a “BIG HELP!” The

        letters were being read by the Drill Instructors who were scanning them.

21.     Because he knew his letters were being read, N.M. did not tell his mother about the “hazing

        culture” at the Academy. It was commonplace for older students to bully the younger and

        newer students. This hazing, or bullying, was often not met with correction because it was



        2
            https://www.mma-tx.org/about-us/At-a-Glance/
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        viewed as normal behavior among the Academy’s students.

22.     “Bryan S.” was his first roommate and verbally abused N.M. every day during the first four

        weeks they were new “plebes”. After one month’s time, Bryan became N.M.’s direct

        superior per the chain of command.

23.     N.M. himself made complaints to school directors and was reprimanded for breaking the

        chain of command. He was told to report complaints to his direct superior, who in this case,

        was Bryan S., the perpetrator. As such, the severity of the bullying increased.

24.     About a month into the semester, N.M. got a new roommate named “Kenny V” who also

        proved to be a bully. In addition to subjecting N.M. to verbal abuse, he hit, punched, kicked

        and threatened to rape him on daily basis for two months.

25.     N.M. became increasingly fearful for his safety and began sleeping with a broom handle.

26.     N.M. was not getting any help from people like the school directors, who were outside of

        his chain of command, so he informed his mother about the bullying. He revealed that since

        his initial letter, things had changed. He did not initially feel comfortable telling her that he

        was being bullied because, as previously noted, he knew the Drill Instructors were reading

        the cadets’ letters and feared retaliation.

27.     Ms. McCarthy traveled to the Academy and had a meeting with two drill instructors, Sgt.

        Charles and 1st Sgt. Hernandez. N.M. was also present during the meeting. He and his

        mother spoke to the instructors about the severity of the bullying. After his mother left for

        home, N.M. was again reprimanded for breaking the chain of command and nothing was

        done to stop the persistent bullying.

28.     During a basketball game, other cadets named Christian and Jagneau were being physically

        aggressive to N.M. There were no referees and no staff supervision during the game.

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29.     In addition to his roommates, N.M. was targeted by another cadet. “R.” was a football player

        who thought it was funny to publically humiliate N.M. by giving him bear hugs and lifting

        him off the ground in front of everyone.

30.     N.M. wrote to his mother that R., along with four other cadets, ambushed and assaulted him.

31.     After this incident, N.M. feared that if he kept complaining, the Academy staff and other

        cadets would retaliate against him. As such, N.M. stopped reporting it and not surprisingly

        things worsened.

D.      SUMMER AFTER THE FIRST YEAR AND THE SECOND YEAR AT THE ACADEMY

32.     Over the summer, N.M.’s mood and condition fluctuated. He continually expressed to his

        mother that he was not sure if he should return to the Academy.

33.     As the beginning of the new year approached, N.M. became withdrawn and sullen.

34.     N.M. returned to the Academy for a second year but

35.     Five days into the semester, N.M. called his mother and told her that he was put on suicide

        watch by administration.

36.     Ms. McCarthy confirmed with the Academy that N.M. was put on suicide watch.

37.     Because N.M. was only being asked “what was wrong” instead of being assessed by a

        mental health professional, Ms. McCarthy traveled to the Academy and removed N.M from

        the school environment because nothing was being done to find out what was wrong other

        than questioning by the staff.

38.     After getting Nicholas back to San Antonio, he struggled to communicate and eventually to

        function at all. He was in and out of psychiatric facilities until finally being referred to

        Laurel Ridge by another facility for ECT. Laurel Ridge will not do ECT on a minor but they

        did admit him. He was later transferred to their long term care section

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39.     taken into a psychiatric facility, Laurel Ridge Treatment Center. He was diagnosed with

        catatonia3.

40.     The Academy put N.M. on a “hold’ status. Soon after, Ms. McCarthy sent an email to

        formally and officially withdraw N.M. from the Academy.

41.     N.M. is at a high risk for recurrence of catatonia.

42.     N.M. also suffers from major depressive disorder and anxiety.

43.     N.M. has lost over a year of his life because of the acts and omissions of the Academy. He

        was unable to make the high school basketball team after playing Varsity as a sophomore.

44.     He suffers from symptoms similar to that of Post Traumatic Stress Disorder (“PTSD”).

45.     Additionally, he was supposed to graduate high school, but that could not happen. He has

        tried to take the Scholastic Aptitude Test (“SAT”) multiple times, but he is unable to

        complete the test.

E.      THE ACADEMY WAS INDIFFERENT TO THE HARASSMENT N.M. EXPERIENCED

46.     The Academy sent a letter to Ms. McCarthy stating they would investigate the allegations

        that N.M. was a victim of harassment, but the scope of the investigation did not include his

        first year at MMA. Moreover, the investigation was not commensurate with Title IX

        regulations, relevant Title IX jurisprudence, Office of Civil Rights Guidelines, Texas law

        or the Academy’s Policies and Procedures. Specifically, when a staff member receives a

        complaint from any person, that a student may have been a victim of bullying, harassment

        or assault:

        a.       First the Academy has an absolute duty to tell the parents of any problem where their

        3
            Catatonia is a group of symptoms that usually involve a lack of movement and communication, and also
can include agitation, confusion, and restlessness. Catatonia can be treated, but if it’s not, it can lead to
life-threatening problems.

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                 child could be the victim of bullying, harassment, assault or even sexual assault;

        b.       The complaint must be reduced to writing and given to the Academy’s Title IX

                 Coordinator, or their designee or Superintendent;

        c.       They must Investigate the allegations;

        d.       The investigation requires that all witnesses be interviewed;

        e.       That all statements be reduced to writing;

        f.       That a written report be completed;

        g.       It requires that the investigation be impartial;

        h.       The family is to be provided a copy of the final report;

        i.       If the family is unhappy with the findings, they must be given information about the

                 right to appeal the findings through the Academy’s Internal Grievance Policies; and

        j.       In addition, the family is to be given information about filing a complaint with the

                 Department of Education’s Office of Civil Rights.

47.     The Academy also has a duty to provide an intervention for the victim based upon a

        constellation of all the facts. For instance the Academy may offer the student who was

        victimized any of the following:

        a.       Counseling;

        b.       Psychological testing;

        c.       Social skills training and/or

        d.       Self-advocacy training;

        e.       Referral to community resources;

        f.       A one-to-one paraprofessional to provide monitoring of the Victim;

        g.       A one-to-one paraprofessional to provide monitoring of the Perpetrator;

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        h.       An increase in supervision at “hot spots;”

        i.       Removal of the perpetrator from the same classes as the victim or even;

        j.       Removal of the perpetrator from the same school as the victim.

48.     Further, even after an investigation is completed, the Academy must have a system in place

        to assess how well or how poorly were the effectiveness of interventions provided, if any.

H.      THE POSTSCRIPT

49.     The Academy failed to follow all the various requirements noted above.

50.     The Academy attempted to provide a safety plan for N.M. but it failed.

51.     In fact the Academy failed over and over again.

52.     The acts and omissions of the Marine Military Academy made him more vulnerable to the

        bullying and harassment he experienced.

53.     The Marine Military Academy was indifferent to the rights N.M. is otherwise accorded

        under Title IX of the Educational Acts of 1972.

                                           VI. TITLE IX

54.     The Marine Military Academy receives federal funds for uniforms and to fund their Reserve

        Office Training Corps (“ROTC”) program. As such, the Academy follows the requisites

        Title IX of the Education Amendments of 1972 (“Title IX”), 86 Stat. 373, as amended, 20

        U.S.C. §1681 et seq. Title IX specifically notes that a private entity may be liable under Title

        IX for discrimination based upon gender and gender stereotypes. The claimant must be a

        member of a protected class; must be bullied and harassed because of membership in that

        class; that such bullying and harassment be severe and pervasive, that the entity be on notice

        as to the allegations; that it be deliberately indifferent to those allegations and the victim

        must have experienced a deprivation of educational opportunities and/or experienced other

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        damages. N.M. easily satisfies all these threshold requirements and seeks recovery

        accordingly.

55.     In addition and in the alternative to the above, the Defendant failed to follow the relevant

        rules and regulations promulgated by the United States Department of Education as to N.M.,

        and as such N.M. has a private cause of action against Defendant for such failures.

                                         VII. NEGLIGENCE

56.     Plaintiffs incorporate by reference all the above-related paragraphs with the same force and

        effect as if herein set forth.

A.      GENERAL NEGLIGENCE

57.     Defendant owed a legal duty to N.M.

58.     Defendant breached that duty.

59.     The breach proximately caused injury to N.M.

B.      NEGLIGENT HIRING, TRAINING, AND SUPERVISION

60.     Defendant owed N.M. a duty to hire, train, and supervise competent employees.

61.     Defendant breached that duty.

62.     The breach caused injury to N.M.

C.      GROSS NEGLIGENCE

63.     Plaintiffs would show that the acts and/or omissions of Defendant complained of above

        constituted gross negligence.

64.     These acts and/or omissions were representative of conscious indifference to the welfare of

        N.M., and as such, he seeks recovery of exemplary damages against Defendant, by way of

        example and of punishment in order to discourage future misconduct by those similarly

        situated to Defendant.

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                           VIII. INTENTIONAL INFLICTION OF
                       SEVERE MENTAL AND EMOTIONAL DISTRESS

65.     Plaintiffs incorporate by reference all of the above related paragraphs, as well as those

        below, with the same force and effect as if fully set forth herein.

66.     Plaintiffs allege that N.M. was a victim of Intentional Infliction of Severe Mental and

        Emotional Distress, due to the acts and omissions by Defendant.

67.     Plaintiff N.M. is a person.

68.     The Defendant acted intentionally and recklessly.

69.     The Defendant’s conduct was extreme and outrageous.

70.     The Defendant’s conduct proximately caused N.M. emotional distress.

                                  IX. RESPONDEAT SUPERIOR

71.     Plaintiffs incorporate by reference all the above related paragraphs with the same force and

        effect as if herein set forth.

72.     The Marine Military Academy ratified the acts and omissions of its employees, staff, and

        representatives.

73.     At all times when the employees of the Academy committed the bad acts set forth and

        described herein, such employees were acting as representatives of the Academy.

74.     The Academy is responsible for the acts and omissions of its employees, staff, and

        representatives pursuant to the theory of Respondent Superior.

                                         X. PROXIMATE CAUSE

75.     Plaintiffs incorporate by reference all allegations in the above related paragraphs with the

        same force and effect as if herein set forth. Each and every, all and singular of the foregoing

        acts and omissions, on the part of the Marine Military Academy, taken separately and/or


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        collectively, jointly and severally, constitute a direct and proximate cause of the injuries and

        damages experienced by Plaintiffs, as set forth herein.

                                       XI. RATIFICATION

76.     The Marine Military Academy, ratified the acts, omissions and customs of all school

        administrators, educators, personnel, staff and agents. As a result, the Defendant is

        responsible for the acts and omissions of all school administrators, educators, personnel,

        staff and agents.

77.     By extension, the Marine Military Academy is responsible for the acts and omissions by

        members of the Marine Military Academy pursuant to the theory of Respondeat Superior.

                                        XII. SPOLIATION

78.     Plaintiffs hereby require and demand that Devereux preserve and maintain all evidence

        pertaining to any claim or defense related to the incidents made the basis of this complaint

        or the damages resulting       therefrom, including statements, photographs, videotapes,

        audiotapes, surveillance, security tapes, business or medical records, incident reports,

        telephone records, emails, text messages, electronic data/information, and any other evidence

        regarding the assault or other violations set forth herein.

79.     Failure to maintain such items will constitute “spoliation” of evidence, which will

        necessitate use of the spoliation interference rule—an inference or presumption that any

        negligent or intentional destruction of evidence was done because the evidence was

        unfavorable to the spoliator’s case.

                                          XIII. DAMAGES

80.     Plaintiffs incorporate by reference all of the above related paragraphs, as if fully set forth

        herein.

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81.     As a direct and proximate result of the Defendants' conduct, N.M. and his mother have

        suffered injuries and damages, which they may seek compensation for, all within the

        jurisdictional limits of this court, including but not limited to the following:

        a.        Hostile educational environment;

        b.        Deprivation of equal access to educational opportunities;

        c.        Deprivation of non-educational opportunities at the school;

        d.        Aggravation of any pre-existing condition;

        e.        Past mental anguish;

        f.        Future mental anguish;

        g.        Loss of opportunity;

        h.        Loss of companionship;

        i.        Past medical expenses;

        j.        Future medical expenses;

        k.        Injury to reputation;

        l.        Parental out-of-pocket expenses; and

        m.        Parental wages lost or affected due to expending time and energies attending to these

                  incidents.

82.     By reason of the above, the subject of this lawsuit, Plaintiffs have suffered losses and

        damages in a sum within the jurisdictional limits of the Court and for which this lawsuit is

        brought.

                                      XIV. ATTORNEYS FEES

83.     Plaintiffs incorporate by reference all of the above related paragraphs, as if fully set forth

        herein.

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84.     It was necessary for Plaintiffs to hire the undersigned attorneys to file this lawsuit. Upon

        judgment, Plaintiffs are entitled to an award of attorney fees and costs pursuant to Title IX

        and 42 U.S.C. § 2000d et seq.

                              XV. DEMAND FOR A JURY TRIAL

85.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a jury trial for all issues

        in this matter.

                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray in the manner and particulars

noted above, and in an amount sufficient to fully compensate her for the elements of damages

enumerated above, and enter a judgment in an amount sufficient to fully compensate them for the

elements of damages enumerated above, judgment for damages, recovery of attorney's fees and costs

for the preparation and trial of this cause of action, and for its appeal if required, pursuant to 42

U.S.C. §1988 and 42 U.S.C. §2000d et seq. and Title IX; together with pre- and post-judgment

interest, and court costs expended herein, as well as the equitable issues noted above; and for such

other relief as this Court in equity, deems just and proper and for such other relief as the Court may

deem just and proper in law or in equity.

                                                Respectfully submitted,
                                                Cirkiel & Associates, P.C.
                                                /s/ Martin J. Cirkiel
                                                Mr. Martin J. Cirkiel, Esq.
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                                                ATTORNEYS FOR PLAINTIFFS


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                                 CERTIFICATE OF SERVICE

        This is to certify that on February 18, 2019, a true and correct copy of the above and forgoing
document filed with the Clerk of the Court for the U.S. District Court, Western District of Texas
using the CM/ECF system which will send notification of such filing to the following Counsel of
record:

Col R. Glenn Hill
Superintendent of Marine Military Academy
320 Iwo Jima Blvd
Harlingen, TX 78550
(956) 421-9221 [Telephone]
hill@mma-tx.org [Email]

                                               /s/ Martin J. Cirkiel
                                               Martin J. Cirkiel




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